                              UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF TENNESSEE
                                   NASHVILLE DIVISION

UNITED STATES OF AMERICA,                     )
                                              )
                v.                            )
                                              )        3:12 CR 00159
CHAD EDWARD WARRICK,                          )        Judge Marvin E. Aspen
ANGELA CAMARDA, and                           )
CYNTHIA FAYE HEINZ,                           )
                                              )
                Defendants.                   )

                                             ORDER

         We hereby strike the pretrial conference currently scheduled to take place on Monday,

April 28, 2014 at 9:30 a.m.

         A preliminary pretrial conference will be held on Friday, May 16, 2014 at 10 a.m. At the

conference, we will set a new trial date.



                                                       SO ORDERED:



                                                       Marvin E. Aspen
                                                       United States District Judge




Dated:          Chicago, Illinois
                April 25, 2014




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